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                         EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CONSERVATION LAW FOUNDATION,              )
                                          )
       Plaintiff,                         )
                                          )
               v.                         )
                                          )                    Civ. No. 1:18-cv-1087-JEB
WILBUR ROSS, in his official capacity     )
as Secretary of Commerce, et al.,         )
                                          )
       Defendants.                        )
_________________________________________ )

                    DECLARATION OF NIGELLA M. K. HILLGARTH
                      FOR CONSERVATION LAW FOUNDATION

       I, Nigella M. K. Hillgarth, hereby declare and state:

       1.      I am 65 years old and I am competent to testify to all facts contained in this

declaration.

       2.      I lived in Boston from 2003 until September 2018. I currently live at 6110

Camino de la Costa in La Jolla, California.

       3.      I am a current member of Conservation Law Foundation (CLF).

       4.      I have a strong professional and academic background in marine biology.

       5.      I obtained a bachelor’s degree in zoology from Oxford University as well as a

Ph.D in evolutionary biology.

       6.      I was the CEO and president of the New England Aquarium from 2014 to 2017.

In that capacity, my responsibilities encompassed oversight of the institution’s right whale

research, which included the maintenance and updating of a catalog containing photographs and

information pertaining to every single known North Atlantic right whale, as well as data

collection regarding entanglements in fishing gear. I became very concerned with the desperate



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situation of right whales as I came to know their individual stories – including their names, their

family trees, whether they calved, where they migrated, and tragically, when, where, and how

they died, often painfully and over prolonged periods due to entanglements or other human-

induced causes.

       7.      I recall that the areas around Martha’s Vineyard and Nantucket are important

feeding grounds for the North Atlantic right whale, especially when they are migrating, and I

understand that the animals are increasingly detected in those areas.

       8.      Though my interest in North Atlantic right whales predates my time in New

England, it was my tenure at the New England Aquarium that engendered in me a deep personal

attachment to the whales that persists to this day. I feel emotionally invested in the survival of

the species, and its preservation is of great importance to my happiness and wellbeing.

       9.      I frequently consult news and social media resources for updates on the status of

the North Atlantic right whale population, including by joining relevant social media groups.

This allows me to continue to pursue my appreciation and enjoyment of North Atlantic right

whales. My professional background in global conservation and as a biologist gives me a

heightened subjective investment in these activities that other consumers of such information

might not share. It brings me enjoyment to learn of progress in the conservation of this species. I

feel dread and despair when I learn that conservation efforts have plateaued or worsened. I intend

to continue to pursue my interest in the North Atlantic right whale population through these

platforms.

       10.     I have a recreational interest in North Atlantic right whales. Though I have never

seen one of these creatures in person, I routinely go on whale watching expeditions in hopes of

seeing one. Like fishing, whale watching is an inherently speculative activity, and part of the



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enjoyment of this pursuit is not knowing with certainty what animals, if any, one will get to see.

So even though I have not seen a North Atlantic right whale, the chance that I might see one

brings me enjoyment. Anything that reduces the probability that I will see a North Atlantic right

whale reduces my enjoyment of this pastime. Searching for North Atlantic right whales would be

a more enjoyable activity if their numbers increased, but this will not be possible if defendant

agencies threaten the North Atlantic right whale population. Every human-caused death of a

North Atlantic right whale reduces my chances of seeing one. Were the species to go extinct, my

enjoyment of whale watching would permanently be reduced, as the likelihood of seeing one of

these creatures would drop to zero.

       11.     The preservation of North Atlantic right whales is critically important to me. The

death of even a single individual of this species grieves me, as I am acutely aware through my

professional and academic background that each death is a major setback for the survival of

these severely endangered animals. I understand that current estimates are that the population is

hovering around 408 individuals.

       12.     Last year, I was heartbroken to learn the story of one North Atlantic right whale

that had previously survived entanglement only to die, five years later, entangled in ropes that

cut into its skin and lacerated its body over a period that likely lasted for months. The animal

died in agony. I am aware of three documented deaths in 2018, and I have heard that those were

also attributable to entanglement. It is tragic that we continue to allow these deaths by

entanglement to happen. Society would never tolerate these sorts of deaths to continue if people

could see them, for instance if they were happening to land-dwelling cows. I am aware of

scientific studies showing that whale entanglement can result in serious injury, death, or affect

reproductive success in the future.



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       13.     I understand that the National Marine Fisheries Service (NMFS) has approved

amendments to various fishery management plans in the area off the coast of Massachusetts,

New Hampshire and Maine, and that these revisions will open up some areas to fishing that were

previously closed. I understand that some of these fisheries use gillnets, which pose a risk of

entanglement to North Atlantic right whales. It is my understanding that in the absence of

immediate action by NMFS to protect right whales from entanglements, these revisions will

continue to harm North Atlantic right whales. These injuries would be redressed by a Court order

requiring NMFS to comply with the Endangered Species Act.

       14.     The failure of Defendants to protect the North Atlantic right whale harms me

because my regular consumption of information regarding the status of this species brings me

increasingly distressing and heartbreaking news. Similarly, my enjoyment of whale watching

expeditions bring me less enjoyment as the likelihood that I will see a North Atlantic right whale

decreases.



SIGNED UNDER THE PENALTIES OF PERJURY THIS 20th DAY OF DECEMBER, 2018.




                                      ___________________________________
                                      Nigella M.K. Hillgarth




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